Case 1:13-cv-00319-WYD-MEH Document 25 Filed 08/12/13 USDC Colorado Page 1 of 8




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-00319-WYD-MEH

  MALIBU MEDIA, LLC,

         Plaintiff,

  v.

  JOHN RYDER,

         Defendant.


             RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE


  Michael E. Hegarty, United States Magistrate Judge.

         Before the Court is Plaintiff’s Partially Agreed Motion to Strike Defendant John Ryder’s

  Affirmative Defenses [filed July 12, 2013; docket #21].         In accordance with 28 U.S.C. §

  636(b)(1)(B) and D.C. Colo. LCivR 72.1C, the Motion is referred to this Court for recommendation.

  (Docket #22.) Defendant filed a response to the Motion on August 2, 2013. Pursuant to D.C. Colo.

  LCivR 7.1C, the Court decides the Motion without a reply from Plaintiff. For the reasons described

  below, the Court RECOMMENDS Plaintiff’s Motion be granted as stated herein.1


         1
           Be advised that all parties shall have fourteen (14) days after service hereof to serve and
  file any written objections in order to obtain reconsideration by the District Judge to whom this
  case is assigned. Fed. R. Civ. P. 72. The party filing objections must specifically identify those
  findings or recommendations to which the objections are being made. The District Court need not
  consider frivolous, conclusive or general objections. A party’s failure to file such written
  objections to proposed findings and recommendations contained in this report may bar the party
  from a de novo determination by the District Judge of the proposed findings and recommendations.
  United States v. Raddatz, 447 U.S. 667, 676-83 (1980); 28 U.S.C. § 636(b)(1). Additionally, the
  failure to file written objections to the proposed findings and recommendations within fourteen
  (14) days after being served with a copy may bar the aggrieved party from appealing the factual
  findings of the Magistrate Judge that are accepted or adopted by the District Court. Thomas v. Arn,
  474 U.S. 140, 155 (1985); In re Garcia, 347 F. App’x 381, 382-83 (10th Cir. 2009).
Case 1:13-cv-00319-WYD-MEH Document 25 Filed 08/12/13 USDC Colorado Page 2 of 8




                                           BACKGROUND

         Plaintiff initiated this action on February 5, 2013, alleging that then-Doe Defendant,

  identified only by his Internet Protocol (“IP”) addresses, infringed on Plaintiff’s copyrighted work

  by using the internet and a “BitTorrent” protocol to reproduce, distribute, display, or perform

  Plaintiff’s protected films. In an effort to identify the alleged infringer, Plaintiff requested

  permission from the Court to serve limited, immediate discovery on the Doe Defendant’s Internet

  Service Providers (“ISP”) prior to the Rule 26(f) conference. (Docket #7.) The Court determined

  that Plaintiff had shown good cause for limited expedited discovery and granted Plaintiff’s motion

  in part. (Docket #11.) In particular, the Court authorized Plaintiff to serve a third party subpoena

  pursuant to Fed. R. Civ. P. 45 on the identified ISP for the limited purpose of ascertaining the

  identity of the Doe Defendant as set forth in Plaintiff’s Complaint. The Court directed that the

  subpoena be limited to providing Plaintiff with the true name, address, telephone number, and email

  address of the Defendant to whom the ISP had assigned an IP address. With the subpoena, the Court

  directed Plaintiff serve a copy of its order. Finally, the Court emphasized that Plaintiff could only

  use the information disclosed in response to the subpoenas for the purpose of protecting and

  enforcing its rights as set forth in its Complaint [docket #1]. The Court cautioned Plaintiff that

  improper use of this information could result in sanctions.

         In accordance with the Court’s order, Plaintiff served a Rule 45 subpoena on Defendant’s

  ISP and obtained his identity, accordingly. Thereafter, Plaintiff filed an Amended Complaint on

  May 29, 2013, naming Mr. Ryder as a Defendant. (Docket #13.) Defendant filed his “First Answer”

  to Plaintiff’s Complaint on June 19, 2013, asserting nine (9) defenses. (Docket #17.)

         Plaintiff moved to strike the First Answer on July 10, 2013. (Docket #18.) Shortly after


                                                   2
Case 1:13-cv-00319-WYD-MEH Document 25 Filed 08/12/13 USDC Colorado Page 3 of 8




  filing, the Court stuck Plaintiff’s motion for failure to effectuate proper service on Defendant.

  (Docket #20.) Upon amending the Certificate of Service, Plaintiff renewed its Motion that same

  day. (Docket #21.) Defendant filed his response to the Motion on August 2, 2013. (Docket #24.)



                                         LEGAL STANDARD

         Rule 12(f) permits the Court to “strike from a pleading an insufficient defense or any

  redundant, immaterial, impertinent, or scandalous matter.” “The purpose of Rule 12(f) is to save

  the time and money that would be spent litigating issues that will not affect the outcome of the case.”

  Kimpton Hotel & Restaurant Group, LLC v. Monaco Inn, Inc., No. 07-cv-01514-WDM-BNB, 2008

  WL 140488, at *1 (D. Colo. Jan. 11, 2008) (citing United States v. Shell Oil Co., 605 F. Supp. 1064,

  1085 (D. Colo. 1985)). Striking a portion of a pleading is a drastic remedy; the federal courts

  generally view motions to strike with disfavor and infrequently grant such requests. 5C Arthur R.

  Miller & Mary Kay Kane, Federal Practice and Procedure § 1380 (3d ed. 2011). Whether to strike

  an affirmative defense rests within the discretion of the trial court. Anderson v. Van Pelt, No. 09-cv-

  00704-CMA-KMT, 2010 WL 5071998, at *1 (D. Colo. Dec. 7, 2010) (citing Vanderhurst v. Colo.

  Mountain Coll. Dist., 16 F. Supp. 2d 1297, 1303 (D. Colo. 1998)).

         “An affirmative defense is insufficient if, as a matter of law, the defense cannot succeed

  under any circumstance.” Unger v. US West, Inc., 889 F. Supp. 419, 422 (D. Colo. 1995). Some

  courts have expanded this pleading standard based on notice to reflect the plausibility standard

  applied to pleading a claim for relief, which is what Plaintiff asks this Court to do. The

  Twombly/Iqbal plausibility pleading standard has not been extended to affirmative defenses in this

  Circuit, and the Court declines to do so here. The standard articulated in Unger continues to be the


                                                    3
Case 1:13-cv-00319-WYD-MEH Document 25 Filed 08/12/13 USDC Colorado Page 4 of 8




  appropriate standard. For the reasons stated herein, the Court holds that an affirmative defense is

  sufficient if stated “in short and plain terms” pursuant to Rule 8(b)(1)(A), and if the movant fails to

  demonstrate that the defense cannot succeed under any circumstance.

                                              ANALYSIS

         Plaintiff’s Motion seeks to strive Defenses One through Seven. Because Defendant does not

  oppose an order striking his Seventh Defense, Plaintiff’s Motion presents argument on Defenses One

  through Six. (See id.) Defendant’s response to the Motion concedes that his First and Second

  Defenses are better argued in a motion to dismiss. However, he contends that his Third, Fourth,

  Fifth, and Sixth Defenses should remain. With the aforementioned legal principles in mind, the

  Court will consider each of the challenged defenses in turn.

  I.     Third Defense: Failure to Mitigate Damages

         In his Third Defense, Defendant contends that Plaintiff has made no attempt to mitigate any

  actual or perceived damages. Plaintiff responds that failure to mitigate is not a valid defense in

  copyright actions in which a plaintiff seeks only statutory damages. Because Plaintiff has elected

  to recover statutory rather than actual damages in this case, Plaintiff argues the Third Defense should

  be stricken.

         The Court agrees that a copyright plaintiff’s exclusive pursuit of statutory damages

  invalidates a failure-to-mitigate defense. See Moothart v. Bell, 21 F.3d 1499, 1506-07 (10th Cir.

  1994) (finding that mitigation of damages did not apply to statutory penalty); see also Arista

  Records, Inc. v. Flea World, Inc., 356 F. Supp. 2d 411, 422 (D.N.J. 2005) (mitigation of damages

  defense not appropriate in copyright infringement case where plaintiffs sought only statutory

  damages). Because Plaintiff’s Amended Complaint requests only statutory damages, Defendant’s


                                                    4
Case 1:13-cv-00319-WYD-MEH Document 25 Filed 08/12/13 USDC Colorado Page 5 of 8




  Third Defense cannot succeed under any present circumstance and should, therefore, be stricken.

  (See docket #13 at 7.)

  II.     Fourth Defense: Unclean Hands

          Defendant’s Fourth Defense asserts: “Plaintiff’s claims are barred by the doctrine of unclean

  hands.” Plaintiff contends that this allegation is insufficiently pled and should, therefore, be

  stricken.

          In copyright actions, the doctrine of unclean hands is only applied “where the wrongful acts

  ‘in some measure affect the equitable relations between the parties in respect of something brought

  before the court for adjudication.’” Mitchell Bros. Film Grp. v. Cinema Adult Theater, 602 F.2d 852,

  863 (quoting Keystone Driller Co. v. Gen. Excavator Co., 290 U.S. 240, 245 (1933)). Where

  asserted, unclean hands “must be pled with the specific elements required to establish the defense.”

   Cartel Asset Mgmt. v. Ocwen Fin. Corp., No. 01-cv-01644-REB-CBS, 2010 WL 3522409, at *3

  (D. Colo. Aug. 11, 2010) (citing MPC Containment Sys., Ltd. v. Moreland, No. 05 C 6973, 2008 WL

  1775501, at *5 (N.D. Ill. April 17, 2008)). These elements include a showing that the party seeking

  equitable relief is “(1) guilty of conduct involving fraud, deceit, unconscionability, or bad faith, (2)

  directly related to the matter at issue, (3) that injures the other party, and [4] affects the balance of

  equities between the litigants.” Id. (citing In re New Valley Corp., 181 F.3d 517, 523 (3d Cir. 1999)).

  Because the alleged inequitable conduct “must be connected ... to the matters before the court for

  resolution,” a court should “not refuse relief to a party merely because it has engaged in misconduct

  which is unrelated to the claims before the court.” New Valley Corp., 181 F.3d at 525.

          Defendant’s Fourth Defense asserts neither facts nor allegations that would support a finding

  of unclean hands in this case. Indeed, Defendant’s Answer fails to identify any inequitable conduct


                                                     5
Case 1:13-cv-00319-WYD-MEH Document 25 Filed 08/12/13 USDC Colorado Page 6 of 8




  which is connected or related to the matters before the Court in this action.2 Therefore, the Court

  recommends the District Court grant Plaintiff’s Motion to strike Defendant’s Fourth Defense.

  III.    Fifth Defense: Invalidity or Unenforceability of Copyrights

          In his Fifth Defense, Defendant claims that “Plaintiff’s copyrights are invalid and/or

  unenforceable.” Plaintiff characterizes this allegation as excessively vague given the range of

  grounds upon which a copyright may be deemed invalid. Without additional facts, Plaintiff contends

  it cannot prepare an adequate response to the defense.

          Plaintiff’s specificity challenge is not an appropriate basis for striking a defense under the

  pre-Iqbal pleading standards applied under Fed. R. Civ. P. 12(f). See Malibu Media, LLC v. Does

  1, 13, 14, and 16, No. 12-2078, 2013 WL 1702549, at *4 (E.D. Pa. March 6, 2013). However, the

  Court finds that the defense should be stricken on other grounds; namely its redundancy.3 To

  establish a claim of copyright infringement, Plaintiff must prove “(1) ownership of a valid copyright;

  and (2) copying of constituent elements of the work that are original.” Feist Publ’ns, Inc. v. Rural

  Tel. Serv. Co., 499 U.S. 340, 361 (1991). Defendant’s attack the validity of Plaintiff’s copyrights

  is effectively a denial of Plaintiff’s prima facie case and is, therefore, not a proper affirmative

  defense. See Isringhausen Import, Inc. v. Nissan N.A., Inc., No. 10-CV-3253, 2011 WL 6029733,

  at *6 (C.D. Ill. Dec. 5, 2011) (striking defense that merely attacked element of copyright

  infringement claim). By its nature, an affirmative defense “does not negate the elements of a


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          Defendant’s response to the Motion contains several allegations regarding the unclean
  hands defense. Notwithstanding this Court’s finding that the defense as presented is inadequate,
  Defendant may move to amend his answer to include such facts pursuant to Fed. R. Civ. P.
  15(a)(2).
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           Pursuant to Fed. R. Civ. P. 12(f)(1), the Court may strike a redundant material “on its
  own.”

                                                    6
Case 1:13-cv-00319-WYD-MEH Document 25 Filed 08/12/13 USDC Colorado Page 7 of 8




  plaintiff’s claim, but instead precludes liability even if all of the elements of a plaintiff’s claim are

  proven.” Lane v. Page, 272 F.R.D. 581, 598 (D.N.M. 2011). Where a so-called “affirmative

  defense” does nothing more than rebut a plaintiff’s claims directly, the defense should be stricken.

  Id. Therefore, the Court recommends the District Court strike Defendant’s Fifth Defense as

  redundant.

  IV.     Sixth Defense: Lack of Originality

          The Sixth Defense proposes that “Plaintiff’s works lack originality and are therefore not

  protected by copyright.” Like validity, a copyright’s originality must be proven by Plaintiff as part

  of its claim for infringement. See Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. at 361.

  Because the Sixth Defense is “merely a rebuttal” to Plaintiff’s claim, as described above, it is not

  truly an affirmative defense. Therefore, the Court recommends it be stricken as redundant. See

  Lane, 272 F.R.D. at 598.

                                             CONCLUSION

          As described above, the Court finds that Defendant’s Third, Fourth, Fifth, and Sixth

  Defenses should be stricken. The Court issues the same recommendation with regard to Defenses

  One, Two, and Seven pursuant to the parties’ agreement. Accordingly, the Court respectfully

  recommends that Plaintiff’s Partially Agreed Motion to Strike Defendant John Ryder’s Affirmative

  Defenses [filed July 12, 2013; docket #21] be granted.

          Entered and dated at Denver, Colorado, this 12th day of August, 2013.

                                                          BY THE COURT:




                                                          Michael E. Hegarty

                                                     7
Case 1:13-cv-00319-WYD-MEH Document 25 Filed 08/12/13 USDC Colorado Page 8 of 8




                                           United States Magistrate Judge




                                       8
